Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 1 of 36 PageID 6




                    Exhibit 1
     Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21               Page 2 of 36 PageID 7



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JESUS GUZMAN,                                   §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §
                                                §             Civil Action No. _______________
HOA RESTAURANT GROUP, LLC d/b/a                 §
HOOTERS and HELMSMAN                            §
MANAGEMENT SERVICES, LLC,                       §
                                                §
        Defendants.                             §

                     INDEX OF DOCUMENTS FILED IN STATE COURT

     8/12/2020         Plaintiff’s Original Petition, Demand for Jury Trial, and Requests for
                       Disclosure
     8/12/2020         Enter Demand for Jury
     8/12/2020         Citation issued to HOA Restaurant Group, LLC
     12/11/2020        Return of Service for HOA Restaurant Group, LLC
     12/14/2020        Notice of Intent to Dismiss
     1/7/2021          HOA Restaurant Group, LLC’s Verified Denial, Original Answer,
                       and Request for Disclosure




INDEX OF DOCUMENTS FILED IN STATE COURT                                                    PAGE 1
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 3 of 36 PageID 8




                    Exhibit 2
  Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21         Page 4 of 36 PageID 9




Case Information

DC-20-11190 | JESUS GUZMAN vs. HOA RESTAURANT GROUP, LLC

Case Number                    Court                       Judicial Officer
DC-20-11190                    191st District Court        SLAUGHTER, GENA
File Date                      Case Type                   Case Status
08/12/2020                     PROPERTY                    OPEN




Party

PLAINTIFF                                                  Active Attorneys 
GUZMAN, JESUS                                              Lead Attorney
                                                           MANDAVIA, HAZIM
                                                           Retained




DEFENDANT
HOA RESTAURANT GROUP, LLC

 Aliases
 DBA HOOTERS AND HELSMAN MANAGEMENT SERVICES LLC
Address
SERVING REGISTERED AGENT CT CORPORATION SYSTEM INC
1999 BRYAN ST STE 900
DALLAS TX 75201




Events and Hearings
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 5 of 36 PageID 10

08/12/2020 NEW CASE FILED (OCA) - CIVIL


08/12/2020 ORIGINAL PETITION 


ORIGINAL PETITION


08/12/2020 JURY DEMAND 


JURY DEMAND


08/12/2020 ISSUE CITATION 


ISSUE CITATION - HOA RESTAURANT GROUP, LLC


08/14/2020 CITATION 


Served
12/09/2020

Anticipated Server
ESERVE

Anticipated Method
Actual Server
PRIVATE PROCESS SERVER

Returned
12/11/2020
Comment
HOA RESTAURANT GROUP, LLC


12/11/2020 RETURN OF SERVICE 


EXECUTED CITATION: HOA RESTAURANT GROUP, LLC

  Comment
  EXECUTED CITATION: HOA RESTAURANT GROUP, LLC


02/18/2021 DISMISSAL FOR WANT OF PROSECUTION 


191FINAL DISMISSAL

Judicial Officer
SLAUGHTER, GENA

Hearing Time
9:00 AM
 Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21             Page 6 of 36 PageID 11

Financial

GUZMAN, JESUS
     Total Financial Assessment                                                $340.00
     Total Payments and Credits                                                $340.00


 8/14/2020   Transaction Assessment                                           $340.00

 8/14/2020   CREDIT CARD - TEXFILE    Receipt # 48777-2020-     GUZMAN,      ($340.00)
             (DC)                     DCLK                      JESUS




Documents


  ORIGINAL PETITION

  JURY DEMAND
  ISSUE CITATION - HOA RESTAURANT GROUP, LLC

  191FINAL DISMISSAL
  EXECUTED CITATION: HOA RESTAURANT GROUP, LLC
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 7 of 36 PageID 12




                    Exhibit 3
                                                                                                                                                        FILED
                                                                                                                                        8/1   2/2020 6:42   PM
1   CIT/   ESERVE                                                                                                                       8'12F’Eflzé’lﬁﬁﬁgé
                                                                                                                                              FELICIA PITRE
                 Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                            Page 8 of 36 PageID 13                         DISTRICT CLERK
                                                                                                                                      DALLAS     00.,   TEXAS
                                                                                                                          JAVIER HERNANDEZ DEPUTY
                                                                           DC_20_1 1 190

                                                        CAUSE NO.

               JESUS GUZMAN,                                           §                    IN    THE DISTRICT COURT
               Plaintiff,



                                                                                         7
                                                                                         _
                                                                       §
                                                                       §
                                                                                   191ST
               V.                                                      §                           JUDICIAL DISTRICT
                                                                       §
               HOA RESTAURANT GROUP, LLC d/b/a                         §
               HOOTERS AND HELSMAN                                     §                 DALLAS COUNTY, TEXAS
               MANAGEMENT SERVICES, LLC,
               Defendants.


                            PLAINTIFF’S ORIGINAL PETITION, DEMAND                            FOR JURY TRIAL
                                                 AND REQUESTS FOR DISCLOSURE
               T0 THE HONORABLE JUDGE OF SAID COURT:
               TO

                           COMES NOW, JESUS GUZMAN, hereinafter “Plaintiff”,                                  0f and about 7-
                                                                                                  complaining of


               ELEVEN,         INC.,    and      HOA RESTAURANT GROUP,                      LLC,      hereinafter     collectively


                                           of action show unto the Court the following:
               “Defendants,” and for cause 0f


                                                       DISCOVERY CONTROL PLAN

                      1.          Plaintiff intends that discovery        conduc‘wd under Discovery Level
                                                                       be conducted                                 3.



                                                           PARTIES AND SERVICE

                      2.          Plaintiff JESUS        GUZMAN is an individual and resident of Texas Whose
                                                                                                       whose address

               is   9330 LBJ Freeway, Suite 120, Dallas, Texas, 75243.                      The   last three digits      of   JESUS

                                                                               0f JESUS GUZMAN’ S drivers
               GUZMAN’ S social security number are 941. The last three digits of
               GUZMAN’S

                           08 1.
               license are 081.


                      3.          Defendant      HOA RESTAURANT GROUP, LLC                    d/b/a   HOOTERS       is   a Georgia


                                      to d0 business in the State 0f Texas, and
               corporation registered t0                                                          may be          with process
                                                                                                           served With


               through its registered agent,         CT Corporation System, Inc.   at the   following address: 1999       BRYAN
               ST.   SUITE 900 DALLAS, TX 75201




            Plaintiff” s Original Petition,
            Plaintiff’                        Jury   Demand and Request for Disclosure                                    Page   1   0f 5
     Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                                 Page 9 of 36 PageID 14


                                            JURISDICTION AND VENUE

         4.         The   subj ect matter in controversy        is   Within the jurisdictional limits of this court.


         5.         Plaintiff seeks      monetary    relief over     $200,000.00 but n0 more than $1,000,000.00.


         6.         Venue       in Dallas   County   is   proper in their cause under Section 15.002(a)(1) of the


  Texas Civil Practice and Remedies Code because                all   0r a substantial part 0fthe events or omissions


  giving rise t0 their lawsuit occurred in Dallas County.


                                                            FACTS

         7.         On    or about August         15,      2018, Plaintiff was customer            at    the Hooters      (the


  “Restaurant”) located 2201 N.           Lamar   St.,    Dallas, Texas, 75202.      While 0n the premises,           Plaintiff


  was   seriously injured and beaten        by one 0r more ofthe patrons of the Restaurant.              Plaintiff sustained


  multiple injuries requiring emergency health care treatment.                     The   injuries sustained    by     Plaintiff


  occurred as a result 0f the dangerous criminal activity that Defendants                       knew was       a danger t0


  customers and failed t0 warn and/or keep safe and/or notify customers 0f the dangerous criminal


  activity     and Violence      that   commonly occurred 0n Defendants’ premises and was known                             t0


  Defendants.


         8.         Plaintiff’s bodily injuries          occurred as a direct result 0f being attacked by one or


  more 0f Defendants’ customers therefore proximately caused by te Defendants                           as described above,


  Which Defendants knew           or, in the exercise     of ordinary care, should have       known       existed.


         9.         At all times mentioned herein, Defendants owned and/or leased and/or managed the

  property in question and located at 2201 N.              Lamar     St,   Dallas, Texas, 75202.


         10.        At   all   times herein, Defendants had such control over the premises in question that


  Defendants owed certain duties to           Plaintiff, the    breach of which proximately caused the injuries


  set forth herein.




Plaintiff’ s Original Petition,   Jury   Demand and Request     for Disclosure                                       Page 2 0f 5
    Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                                 Page 10 of 36 PageID 15


          11.       Defendants, Defendants’ agents, servants, and employees negligently permitted the


  premises t0 be unsafe and dangerous t0 customers by failing to take protective and/or safety


  measures and/or warn customers despite having knowledge of numerous previous acts of criminal


  Violence 0n Defendants’ premises, negligently 0r willfully allowed such unsafe and dangerous


  condition to continue and negligently 0r willfully failed t0 warn Plaintiff 0f the dangerous


  condition of previous Violence 0n Defendants’ premises.                     This condition existed despite the fact


  that   Defendants 0r Defendants’ agents knew of 0r should have                         known of   the existence of the


  aforementioned condition and that there was likelihood 0f a person being injured as occurred t0


  Plaintiff.


          12.       Plaintiff would          show the    court that the dangerous condition ofprevious Violence       0n

  Defendants’ premises was such               that, that   had Defendants or Defendants’ agents exercised ordinary

  care in protecting the safety of customers, the dangerous acts of Violence                   would been noticed and

  corrected     by such persons.

          13.       At     all   times pertinent herein, Defendants and any of Defendants’ agents,            who were

  acting in the scope 0f their employment, were guilty of negligent conduct toward Plaintiff in the


  following: (a) Failing to properly inspect and maintain the premises in question, to discover the


  dangerous condition; (b) failing t0 maintain the premises in a reasonably safe condition;                   (c) failing


  to give adequate        and understandable warnings           t0 Plaintiff of the unsafe condition    of the premises;


  and    (d) failing to   warn     Plaintiff   and    failing to take steps to protect   customers given the numerous


  instances of Violence that have occurred                 on Defendants’ premises.

          14.       Each and every,            all   and singular of the forgoing   acts   and omission, 0n the part 0f

  Defendants, taken separately and/or collectively, constitute a direct and proximate cause 0f the


  injuries   and damages         set forth   below.




Plaintiff’ s Original Petition,     Jury   Demand and Request      for Disclosure                             Page 3 0f 5
       Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                              Page 11 of 36 PageID 16


            15.        Plaintiff’s injuries   were proximately caused by Defendants’ negligent, careless and

  reckless disregard 0f said duty.


                                            DAMAGES FOR PLAINTIFF
16.               Defendants’ acts and/or omissions, as described herein above, were the direct and/or


 proximate cause 0f Plaintiff’s bodily injuries and damages. Speciﬁcally, Plaintiff sustained the


 following damages:


                       A.      Reasonable medical care and expenses in the past. These expenses were
                               incurred    by   Plaintiff, for the      necessary care and treatment of the injuries
                               resulting    from the accident complained of herein and such charges are
                               reasonable and were usual and customary charges for such services in
                               Dallas County, Texas;


                       B.      Reasonable and necessary medical care and expenses which Will in                          all

                               reasonable probability be incurred in the future;


                        C.     Physical pain and suffering in the past;


                       D.      Physical pain and suffering in the future;


                       E.      Mental anguish in the          past;   and

                       F.      Mental anguish in the          future.


                                                          JURY DEMAND

      17.   Plaintiff hereby   demands     trial   by jury.

                                                REQUESTS FOR DISCLOSURE

18.          Pursuant t0 the Texas Rules 0f Civil Procedure, Defendants are hereby requested t0 provide


answers and/or responses to the requests for disclosure in Rule 194.2(3) through                    (1)   within ﬁfty (50)


days of service 0f this petition.


                                                                PRAYER

             WHEREFORE, PREMISES CONSIDERED,                                Plaintiff,   respectfully     prays   that   the


  Defendants be cited t0 appear and answer herein, and that upon a ﬁnal hearing 0f the cause,


Plaintiff’ s Original Petition,   Jury   Demand and Request       for Disclosure                                  Page 4 0f 5
    Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                                 Page 12 of 36 PageID 17


 judgment be entered        for the Plaintiff against Defendants, for              damages    in   an amount Within the


 jurisdictional limits 0f the Court, together With pre-judgment interest (from the date                          of injury


  through the date ofjudgment)            at the   maximum rate      allowed by law, post- judgment interest        at the


  legal rate, costs of court,     and such other and further         relief to   which the   Plaintiff may   be entitled   at



  law or   in equity.




                                                        Respectfully submitted,


                                                        ALMASRI & MARZWANIAN LAW GROUP PLLC

                                                        By:   /s/   Hazim Mandavia
                                                              Sam Almasri
                                                              Texas Bar N0. 24053071
                                                              Email: sam@theamlawgroup.com
                                                              Hazim Mandavia
                                                              Texas Bar N0. 24096984
                                                              Email: hazim@theamlawgroup.com
                                                              9330 LBJ Freeway, Suite 120
                                                              Dallas, Texas  75243
                                                              Tel. (214) 227-2777
                                                              Fax. (2 14) 227-2271
                                                              Attorneys for Plaintiff




Plaintiff’ s Original Petition,   Jury   Demand and Request     for Disclosure                                  Page 5 0f 5
      Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21 Page 13 of 36 PageID 18
                         Automated Certificate of eService
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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that    complies with    all   applicable rules.

Nida Rafi on behalf of Hazim Mandavia
Bar No. 24096984
Nida@theamslawgroup.com
Envelope ID: 45338028
Status as of 08/14/2020 08:51 :11         AM   -05:OO

Associated Case Party:   JESUS GUZMAN

 Name              BarNumber   Email                       TimestampSubmitted       Status

Sam    Almasri                 sam@theamlawgroup.com       8/12/2020 6:42:16   PM   SENT
 Iridian   Cueto               iridian@theamlawgroup.com   8/12/2020 6:42:16   PM   SENT
 Hazim Mandavia                hazim@theamlawgroup.com     8/12/2020 6:42:16   PM   SENT
Lana Shubair                   Iana@theamlawgroup.com      8/12/2020 6:42:16   PM   SENT
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 14 of 36 PageID 19




                     Exhibit 4
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                                  Page 15 of 36 PageID 20




                                                FELICIA PITRE

                                DALLAS COUNTY DISTRICT CLERK

                                            NINA MOUNTIQUE
                                               CHIEF DEPUTY




                                CAUSE NO. DC-ZO-11190



                                           JESUS      GUZMAN

                                                       vs.


                         HOA RESTAURANT GROUP,                                LLC




                                        19lst District Court




                       ENTER               DEMAND FOR JURY
                       JURY FEE PAID                 BY:     JESUS    GUZMAN

                                           FEE PAID: 40.00




                 600   COMMERCE STREET DALLAS, TEXAS                  75202 (214) 653—7261
                       FAX (214)653-7781        E-mail: Felicia.Pitre@dallascounty.org
                        Web   site:   http://Www.dallascounty.0rg/distclerk/index.html
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 16 of 36 PageID 21




                     Exhibit 5
FORM NO. 353-3 CITATION            -                                                                                                                                                                     ESERVE
THE STATE OF TEXAS                                                                                                                                                                                   CITATION


To:         HOA RESTAURANT GROUP, LLC D/B/A HOOTERS AND HELSMAN                                                                                                                                     DC-20-11190
            MANAGEMENT SERVICES, LLC
            BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM INC
            1999 BRYAN ST STE 900                                                                                                                                                                    JESUS   GUZMAN
            DALLAS TEXAS 75201                                                                                                                                                                               vs.
                                                                                                                                                                                          HOA RESTAURANT GROUP, LLC
GREETINGS:
You have been   sued. You may employ an attorney. If you 0r your attorney do not ﬁle a written
answer With the clerk Who issued this citation by 10 o'clock a.m. 0f the Monday next following the                                                                                                   ISSUED THIS
expiration 0f twenty days after you were served this citation and petition, a default judgment may be                                                                                           14th day of August, 2020
taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                                                                                   FELICIA PITRE
Said Plaintiff being      JESUS    GUZMAN                                                                                                                                                        Clerk District Courts,
                                                                                                                                                                                                 Dallas County, Texas

Filed in said Court 12th       day of August, 2020        against


HOA RESTAURANT GROUP. LLC                                                                                                                                                                By:    ANGELA CONEJO, Deputy
                                                                                                                                                                                                                                    Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21




For    Suit, said suit   being numbered DC-20-11190, the nature of which demand                            is   as follows:
Suit   0n   PROPERTY etc.       as     shown 0n   said petition   & REQUEST FOR DISCLOSURE,
a copy of which accompanies this citation. If this citation              is    not served,    it   shall   be returned unexecuted.                                                              Attorney for Plaintiff
                                                                                                                                                                                               HAZIM MANDAVIA
                                                                                                                                                                                       ALMASRI MARZWANIAN LAW GROUP
WITNESS: FELICIA PITRE,                 Clerk of the Distn'ct Courts 0f Dallas, County Texas.
                                                                                                                                                                                           9330   LBJ FREEWAY SUITE           120
Given under     my hand and the Seal of said Court          at   ofﬁce   this 14th      day 0f August, 2020.                                                                                     DALLAS TEXAS         75243
                                                                                                                                                                                                       214-227-2777
ATTEST: FELICM PITRE,                  Clerk of the District   Co              allas,   County, Texas                                    ¢¢~ﬁ“"“u%
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                                                                                                                                                   s.
                              By                                                          ,   Deputy                  ““ﬁilllllﬁﬂr’
                                                                          v.
                                                                                                                                                                              ”munW‘            DALLAS COUNTY
                                        ANGELA CONEJ                                                                                    '-._
                                                                                                                                                                         “I
                                                                                                                                                                    I:
                                                                                                                                                   ﬁi                45;]
                                                                                                                                                                                                 SERVICE FEES
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                                                                                        OFFICER'S RETURN
Case N0.      :   DC-ZO-l 1 190

Court No. 19 1 st District Court

Style:   JESUS      GUZMAN
vs.


HOA RESTAURANT GROUP, LLC
Came     to   hand on the                            day of                             ,
                                                                                            20                 ,
                                                                                                                   at                o'clock           .M. Executed at                     ,




within the County of                                               at                        o'clock                    .M. on the                     day of

20                          ,   by delivering   to the within   named




each, in person, a true copy of this Citation together with the              accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

me    in serving    such process was                   miles and   my fees   are as follows:      To    certify         which witness   my hand.
                                        For serving Citation             $

                                        For mileage                      $                                               of                        County,

                                        For Notary                       $                                               By                                              Deputy
                                                                                                                                                                                                    Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21




                                                                              (Must be veriﬁed         if   served outside the State of Texas.)

Signed and sworn to by the said                                                before       me this                day of                              ,
                                                                                                                                                           20       ,




to certify    which witness       my hand and seal of ofﬁce.




                                                                                                                        Notary Public                           County
                                                                                                                                                                                                    Page 18 of 36 PageID 23
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 19 of 36 PageID 24




                     Exhibit 6
                                                                                                                                                                                                                     FILED
                                                                                                                                                         12/11/2020 12:15 PM
                                                                                                                                                               FELICIA PITRE
                                                                                                                                                           DISTRICT CLERK
                                                                                                                                                        DALLAS CO., TEXAS
                                                                                                                                                      Deondria Grant DEPUTY




FORM N0.            353-3 -    CITATION                                                                                          ESERVE
THE STATE OF TEXAS                                                                                                           CITATION

 To:    HOA RESTAURANT GROUP, LLC D/BIA HOOTERS AND HELSMAN                                                                  DC-20-l 1 190
        MANAGEMENT SERVICES, LLC
        BY SERVING REGISTERED AGENT CT CORPORATION SYSTEM INC
        1999 BRYAN ST STE 900                                                                                                JESUS GUZMAN
        DALLAS TEXAS          75201                                                                                                  vs.
                                                                                                                      HOA RESTAURANT GROUP, LLC
GREETINGS:
You have been sued. You may employ an attorney. 1f you or your attorney do not le a written
answer with the clerk who issued this citation by 1 o‘clock a.m. of the Monday next following the                            ISSUED THIS
                                                                                                                        14th day of August, 2020
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                           FELICIA PITRE
Said Plaintiff being JESUS GUZMAN                                                                                        Clerk District Courts,
                                                                                                                         Dallas County, Texas
Filed in said Court 12th day of August, 2020 against

HOA RESTAURANT GROUP, LLC                                                                                           By: ANGELA CONEJO, Deputy
                                                                                                                                                                  Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21




For Suit, said suit being numbered DC-20-11190, the nature of which demand is as follows:
Suit on PROPERTY etc. as shown on said petition & REQUEST FOR DISCLOSURE,
a copy of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.              Attorney for Plaintiff
                                                                                                                           HAZIM MANDAVIA
WITNESS: FELICIA PITRE, Clerk of the District Courts ofDallas, County Texas.                                      ALMASR] MARZWANIAN LAW GROUP
                                                                                                                      9330 LBJ FREEWAY SUITE 120
Given under my hand and the Seal of said Court at ofce this 14th day of August, 2020.                                    DALLAS TEXAS         75243
                                                                                                                               214-227-2777
ATTEST: FELICIA PITRE, Clerk ofthe District Co                 allas, County, Texas             hummus,
                                                                                                                       hazimgagtheamlawg rougcom
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                         By                                             ,Deputy          §§§ ‘ ’ $2":                   DALLAS COUNTY
                               ANGELA CONEJ                                                     '       e
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                                                                                                                                                                  Page 20 of 36 PageID 25




                                                                                                                             NOT PAID
                                                                            OFFICER'S RETURN
Case No.     z   DC-20-l l 190
Court No.19lst District Court

Style: JESUS GUZMAN
 VS.

HOA RESTAURANT ROUP, LLC
Came to hand on the                         day of                           20   w         .at    Jiyoclockp                   M.Execu       at    Meg    5€M15f%?m
within the             of   Damon                                      b     o'clock    E         M. onthe      W               day of                                                  ,

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each, in person, a true copy of this Citation together with the accompanying copy ofthis pleading, having rst          endorsed on same date ofdelivery. The distance actually traveled by

me in serving such process was                 miles and my fees are as follows. To certify which

                                 For serving Citation          $       ZS
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                                                                                                          wi:e%hand.(
                                 For mileage                                                                              County,lac/10%;:
                                  For Notary                    $
                                                                     //                                                         [7) 5L7
                                                                                                                                                                                             Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21




                                                                    (Must be veried    if served outside the State ofTexas.)
                                                                                                                                                          07/30/1            I
Signed and sworn to by the said             /                        before me this          day of       Q2 W51 ”.             ,2
to certify which wimess my hand and seal ofotce.



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                                                                                                  Notary Public      4 2&12 ’gd          County Z   Z
                                                                                                                     JAcuueuurRENDONCEHVANTEZ
                                                                                                          ““Ymggr,
                                                                                                        sigpo             Public. State ofTexas
                                                                                                        a393,
                                                                                                        gg-c’emtary
                                                                                                           ' ~ Comm. Expires 08-13-2024
                                                                                                         ‘\\




                                                                                                            6’3?“
                                                                                                          ”omm “       Notary ID 132623008
                                                                                                                                                                                             Page 21 of 36 PageID 26
        Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21           Page 22 of 36 PageID 27
                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.




Envelope ID: 48871 O50
Status as of 12/1 4/2020 10:16 AM CST

Associated Case Party:   JESUS GUZMAN

 Name             BarNumber   Email                       TimestampSubmitted        Status
 Hazim Mandavia               hazim@theamlawgroup.com     12/1 1/2020 12:15:11 PM   SENT
Sam Almasri                   sam@theamlawgroup.com       12/1 1/2020 12:15:11 PM   SENT
 Lana Shubair                 lana@theamlawgroup.com      12/1 1/2020 12:15:11 PM   SENT
 Iridian Cueto                iridian@theamlawgroup.com   12/1 1/2020 12:15:11 PM   SENT
Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21   Page 23 of 36 PageID 28




                     Exhibit 7
     Case 3:21-cv-00053-E Document 1-1 Filed 01/08/21                               Page 24 of 36 PageID 29

                                                 In The District Court
                                               Of Dallas County, Texas
                                                   19 1 St   District Court
                                                                                                            12/ 14/2020
HAZIM MANDAVIA
Attn ALMASRI MARZWANIAN LAW GROUP
9330 LBJ FWY STE 120
DALLAS TX            75243

IN RE: DC-20-1 1 190
          JESUS GUZMAN
           VS.
          HOA RESTAURANT GROUP, LLC

                              NOTICE OF INTENT TO DISMISS
                 Submission Hearing is set for        02/18/2021at 09:00 a.m.
         This is a Submission docket ”ONLY“
           NO APPEARANCE IN PERSON
        YOU MUST RESPOND IN WRITING WITH
 ***LETTER OF EXTENSION or DEFAULT JUDGMENT***
          Failure t0 respond in writing on 0r before the above date and time to show good
          cause why this case should be continued 0n the court’s docket will result in
          dismissal.

Pursuant to Texas Rule of Civil Procedure 165a the Court issues this Notice of Intent to Dismiss.

x/    If service on any Defendant has not been obtained as evidenced by no return of citation having been filed
      with the Court prior to the date of the Dismissal Hearing, the case is subject to being dismissed on the
      date of the hearing;

      If service has been achieved on a Defendant,   as evidenced by a return of citation having been led with the
      Court, but no answer has been led (provided such answer is past due prior to the Dismissal Hearing date), you
      must obtain a default/nal judgment signed by this Court prior to the date of the Dismissal Hearing, or the case
      is subject to being dismissed on the date of the hearing;

      If service has been achieved on a Defendant, as evidenced by a return of citation having been led with the
      Court, but the time to le an answer has not expired, you must respond in writing, notifying the Court when the
      Defendant’s answer is due and what additional actions are required to dispose of the case;

      If an answer by Defendant is filed on or before the Dismissal Hearing date, the case will be set for trial or
      scheduling conference in accordance with the Court’s standard policies and procedures.

      If there are multiple defendants, if service has not been obtained on all defendants, there must be a letter 0r
      other document led to notify the Court why all defendants have not been served with citation. If no such notice
      has been led    with the Court, this case is subject to being dismissed on the date of the hearing.

                                                                     Sincerely,

                                                                    GENA SLAUGHTER
                                                                    JUDGE PRESIDING
                                                                     1913T District Court
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                                      CAUSE NO. DC-20-11190

JESUS GUZMAN,                                    §                    IN THE DISTRICT COURT
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §
                                                 §                   191ST JUDICIAL DISTRICT
HOA RESTAURANT GROUP, LLC d/b/a                  §
HOOTERS and HELSMAN                              §
MANAGEMENT SERVICES, LLC,                        §
                                                 §
         Defendants.                             §                  DALLAS COUNTY, TEXAS

                DEFENDANT HOA RESTAURANT GROUP, LLC’S
     VERIFIED DENIAL, ORIGINAL ANSWER, AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant HOA Restaurant Group, LLC (“Defendant”) (incorrectly sued as “HOA

Restaurant Group, LLC d/b/a Hooters”) files this Verified Denial, Original Answer, and Request

for Disclosure, and would respectfully show the Court the following:

                                                I.
                                         VERIFIED DENIAL

         1.      Defendant denies that it is liable to Plaintiff Jesus Guzman (“Plaintiff”) in the

capacity in which it has been sued.

         2.      Defendant denies that it “owned and/or leased and/or managed the property in

question” located at 2201 N. Lamar Street, Dallas, Texas 75202 or that it otherwise had “control

over the premises in question” on the date of the subject incident, as alleged in Paragraphs 9 and

10 of Plaintiff’s Original Petition, Jury Demand, and Request for Disclosure.

         3.      Defendant denies that it had any agents, officers, principals, vice principals, or

employees acting within the course and scope of their agency or other relationship at the

premises where the alleged acts and/or omissions giving rise to Plaintiff’s claims are alleged to

have occurred at the time when such incident is alleged to have occurred.

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       4.      Based on the foregoing, Defendant asserts that there is a defect of parties.

                                                II.
                                        GENERAL DENIAL

       5.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant denies each

and every material allegation contained in Plaintiff’s Original Petition, Jury Demand, and

Request for Disclosure and any amendments or supplements thereto, demands strict proof

thereof, and, to the extent such matters are questions of fact, says Plaintiff should prove such

facts by a preponderance of the evidence to a jury if he can do so.

                                            III.
                                    AFFIRMATIVE DEFENSES

       6.      Pleading further, alternatively, and by way of affirmative defense, Defendant

contends that Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

       7.      Pleading further, alternatively, and by way of affirmative defense, Defendant

would show that at the time and on the occasion in question, Plaintiff failed to use that degree of

care and caution that would have been used by a person with ordinary prudence under the same

or similar circumstances, and that such failure was a proximate cause or a producing cause or the

sole proximate cause or the sole producing cause of the incident in question and any alleged

damages stemming therefrom, if any.            Defendant, therefore, invokes the comparative

responsibility provisions of Chapter 33 of the Texas Civil Practice and Remedies Code.

       8.      Pleading further, alternatively, and by way of affirmative defense, Defendant

would show that, at the time and on the occasion in question, others beyond Defendant’s

control—including but not limited to the unidentified “one or more of the patrons of the

[r]estaurant” who allegedly attacked and injured Plaintiff—failed to use that degree of care and

caution that would have been used by a person with ordinary prudence under the same or similar

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circumstances, and that such failure was, alternatively, a proximate cause or a producing cause or

the sole proximate cause or the sole producing cause of the subject incident and any alleged

injuries and damages stemming therefrom, if any.

        9.      Pleading further, alternatively, and by way of affirmative defense, Defendant

contends that an unknown person or people committed criminal acts—namely, physically

assaulting Plaintiff in violation of Section 22.01(a) of the Texas Penal Code, as alleged in

Paragraph 7 of Plaintiff’s Original Petition—and those criminal acts were a cause of the alleged

loss or injury that is the subject of this lawsuit. See Tex. Civ. Prac. & Rem. Code § 33.004(j).

Defendant does not have any identifying information for the “one or more of the patrons of the

[r]estaurant” who allegedly attacked and injured Plaintiff beyond what is stated in Paragraph 7 of

Plaintiff’s Original Petition.

        10.     Pleading further, alternatively, and by way of affirmative defense, Defendant

would show, in the unlikely event that any liability would be found on the part of Defendant,

such liability should be reduced by the percentage of causation found to have resulted from the

acts or omissions of any persons or third parties over whom Defendant had no control and for

whom Defendant is not responsible, including but not limited to Plaintiff and the unidentified

“one or more of the patrons of the [r]estaurant” who allegedly attacked and injured Plaintiff.

        11.     Pleading further, alternatively, and by way of inferential rebuttal defense,

Defendant would show that the subject incident and Plaintiff’s alleged injuries and damages, if

any, were the result, in whole or in part, of a new and independent cause and/or intervening and

superseding cause, which was not reasonably foreseeable by Defendant.

        12.     Pleading further, alternatively, and by way of affirmative defense, Defendant

contends that any claims for medical or health care expenses are limited to the amount actually



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paid or incurred by or on behalf of Plaintiff pursuant to Texas Civil Practice and Remedies Code

§ 41.0105.

       13.     Pleading further, alternatively, and by way of affirmative defense, Defendant

would show that, pursuant to Section 18.091 of the Texas Civil Practice and Remedies Code, to

the extent Plaintiff is seeking recovery for loss of earnings, lost wages, loss of earning capacity,

and/or loss of contributions of a pecuniary value, Plaintiff must present evidence of the alleged

loss in the form of a net loss after reduction for income tax payments or unpaid tax liability

pursuant to any federal income tax law.

       14.     Pleading further, alternatively, and by way of affirmative defense, Defendant

invokes all rights and limitations found in Chapter 41 of the Texas Civil Practice and Remedies

Code, including the limitations on damage awards.

       15.     Pleading further, alternatively, and by way of affirmative defense, in the unlikely

event that an adverse judgment would be rendered against it, Defendant would respectfully pray

for all available credits and/or offsets as provided by the Texas Civil Practice and Remedies

Code and under Texas law, including a reduction for amounts received from collateral sources or

through settlement agreements.

       16.     Defendant reserves the right to amend this answer to assert additional defenses,

affirmative or otherwise, to challenge venue, and to assert third-party claims, all as may be

required upon the completion of reasonable discovery and investigation.

                                             IV.
                                 REQUEST FOR COURT REPORTER

       17.     Defendant respectfully requests that a court reporter attend all sessions in court in

connection with this case and that said reporter take full notes of all testimony offered, together

with any objections, rulings, and remarks of the Court and exemptions thereto and such other


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proceedings as may be needed or requested by Defendant. See Christie v. Price, 558 S.W.2d

922, 923 (Tex. Civ. App.—Texarkana 1977, no writ).

                                                V.
                                           JURY DEMAND

       18.       Defendant respectfully demands a jury for the trial of this matter.

                                               VI.
                                     REQUEST FOR DISCLOSURE

       19.       Pursuant to Texas Rule of Civil Procedure 194, Defendant requests that Plaintiff

disclose, within 30 days of service of this request, the information or material described in Rule

194.2 (a)–(l).

                                                VII.
                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant HOA Restaurant Group, LLC

respectfully prays that Plaintiff Jesus Guzman take nothing by reason of this suit; that Defendant

recover the costs and expenses it has incurred in defending this suit; and for such other and

further relief, both at law and in equity, to which Defendant may show itself to be justly entitled.




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                                            Respectfully submitted,


                                             /s/ Brian Rawson
                                            BRIAN RAWSON
                                            State Bar No. 24041754
                                            brawson@hartlinebarger.com
                                            STEPHANIE ROARK
                                            State Bar No. 24070498
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                                            (214) 369-2118 – Facsimile

                                            and

                                            DARRELL L. BARGER
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                                            (361) 866-8000 – Telephone
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                                            ATTORNEYS FOR DEFENDANT
                                            HOA RESTAURANT GROUP, LLC


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
on all counsel of record in accordance with the applicable Texas Rules of Civil Procedure on this
7th day of January, 2021.




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                                                                               Assembly of 36        PageID
                                                                                               | Elected              38Agencies
                                                                                                         Officials | State




 Department of State: Division of Corporations
                                                                                                                                                           Allowable Characters

 HOME
                                                                                                                     Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     1/10/2011
                                                           File Number:                 4924519
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 HOA RESTAURANT GROUP, LLC

                                                                                        Limited
                                                           Entity Kind:                 Liability                     Entity Type:     General
                                                                                        Company

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        THE CORPORATION TRUST COMPANY

                                                           Address:                     CORPORATION TRUST CENTER 1209 ORANGE ST

                                                           City:                        WILMINGTON                          County:    New Castle

                                                           State:                       DE                           Postal Code:      19801

                                                           Phone:                       302-658-7581


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

                                                            Submit


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